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                             UNITED STATES DISTRICT COURT
   13
                            CENTRAL DISTRICT OF CALIFORNIA
   14
   15
         MACOM TECHNOLOGY                          Case No. CV16-02859-CAS (GJSx)
   16    SOLUTIONS HOLDINGS, INC., a
         Delaware corporation, and                 JOINT STATUS REPORT
   17    NITRONEX, LLC, a Delaware limited         PURSUANT TO THE COURT’S
         liability company,                        ORDER DATED AUGUST 13, 2018
   18
                           Plaintiffs,
   19
               v.
   20
         INFINEON TECHNOLOGIES AG, a
   21    corporation organized under the laws of
         Germany, and INFINEON                     Hon. Christina A. Snyder
   22    TECHNOLOGIES AMERICAS
         CORP., a Delaware corporation, and,
   23
                           Defendants.
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    1         Pursuant to the Court’s order dated August 13, 2018 (Dkt. 619), Plaintiffs
    2   MACOM Technology Solutions Holdings, Inc., and Nitronex, LLC, and
    3   Defendants Infineon Technologies AG and Infineon Technologies Americas Corp.
    4   (collectively, “the parties”) provide this Joint Status Report regarding the parties’
    5   settlement efforts.
    6         The parties are making progress on documenting their settlement, but
    7   additional time is needed. The parties have therefore reached agreement to extend
    8   the stay of all deadlines through September 24, 2018, and respectfully request that
    9   the Court grant a stay of all deadlines in the case through that date.
   10         If the parties are unable to dismiss all claims and counterclaims on or before
   11   September 24, 2018, the parties agree that all briefing that was due to the Court on
   12   August 13, 2018 (the day the stay was entered) will be due on October 2, 2018.
   13   This includes the parties’ joint report on the jury trial issue (Dkt. 615), Infineon’s
   14   response to the Fourth Amended Complaint (Dkt. 602), and MACOM’s brief on
   15   Infineon’s claw back of documents (Dkt. 614), with responsive briefing due the
   16   same number of days as previously ordered. All outstanding discovery responses
   17   will be due on October 10, 2018. The parties will also submit a joint report on a
   18   proposed amended scheduling order by October 12, 2018, including proposed dates
   19   for hearings that were vacated in light of the stay.
   20
         Dated: September 12, 2018
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                                                         By: /s/ Amanda Tessar
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